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PERFORMANCE IMPROVEMENT PLAN

_ To: Tatiana Sherman, Workforce Project Manager
From: Joe Lowder, Dean of Economic and Community Services

Date: March 8th, 2012

 

 

This memorandum is intended as a good faith effet to inform you of deficiencies in your work performance
and to institute measures that will bring your performance back in line with expectations.

1. Position Description

a. Duty or Responsibility: Project Management — expected to write, manage, monitor and
closeout projects with high degree of accountability. Order books, supplies, or equipment
as needed for training classes. Ensure training project files and records are accurate and
meet all guidelines for yearly audits. Assist team members with the same as needed.

Task: Preparing quotes for companies for workforce training

Deficiency: Quotes not worked on collaboratively, shared in a timely manner, not
always accurate or detailed.

Corrective Action: quotes should be reviewed by director and given to director in
timely manner for proper review before company. Project manager should pull all
past quotes/invoices for company and then compare to new prices. The final price
quated to company will be determined by director and/or dean and project
Manager collaboratively taking into account the new updated prices, past price
history for company and quantity of training requested. As discussed in person,
quotes should be thorough. Anyone in company or school should be abie to read
the quote and understand the fuli scope of project. To accomplish all of this, it
must be explained to company that it could take a few days. A reasonable timeline
is expected to accomplish getting the quote correct.

Task: Managing of projects

Deficiency: Proper tracking of documentation and lateness of checks to
companies

Corrective Action: Project manager shouid be pro-active in all things and track
emails, quotes, invoices, checks and communication with company
representatives. A folder for each company should be created in outlook email.
Ail communication with company representatives should be kept there. A file for
each company should be created on the x: drive and any documentation (quote,
invoice, please pay, etc) should be kept there for at least 5 years, Also track
company interactions and visits in outlock. Also track surveys and job
placements for student pathways.

Project manager should be pro-active in managing the timeline of check
reimbursement. Project manager should keep a timeline of when paperwork is
received, number and type of classes, approximate amount and record all data.
Project manager should set a reminder in outlook calendar about each batch of
company paperwork.

@ At60 day mark, project manager should look into reimbursement
paperwork and work collaboratively with accountability and financial
Speciatist to prioritize paperwork and try to cut a check within 30 days to
company.

® lf there is sorne issue why that can’t happen, please involve director
and/or Dean so we can proactively work together te solve resolution and
collaboratively draft a response te the company about the delay and
work on getting Gaeck cut in a timely manner.

Lastly, Project manager should order books and supplies for in-house and
adjunct trainers. Project manager should provide complete documentation for
each class that they ask trainers to teach for company or individuals prior to
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b. Duty or Responsibility: Communication/T eamwork: Assist team members with ensuring
all files and records are accurate and meet all guidelines for yearly audits. Work and
communicate effectively with the Accountability and Data Specialist and Financial
Specialist to ensure all Project decumentation—is accurate. Work with division team
members to facilitate continued growth of the workforce and MEP program. Daily use of
proficient oral and written communication skills.

i. Task: Clear and effective communication with team
one Often relies on emait when @ conversation could be more clear and
effective,
Corrective Action: Any major changes should be communicated in person and
then followed up by email to document changes, such as with entrepreneurship
program stated in evaluation. Those kind of changes should be shared and
discussed with supervisors before sharing with external entities.
Quotes should be worked on collaboratively with Director as stated above.
Work within team to solve probiems, not just via email or on your own. Most of
these problems are complex with multiple moving parts where paperwork might be
on someone else’s desk. It can be much easier to go into a colleague's office or
huddle everyone up to solve a problem. Email should be used to summarize and
clarify and document when needed.

Please work closely with accountability team and director. Help thera input classes
and participants inte pro-assessment or be willing to do anything as needed to
move the project along. Help them total classes and correct for errors while they
are doing it, especially if we are beyond 80 days on 2 reimbursement. Do nat wait
for somecne te complete a task before you are part of the process.

Please attend all assigned committees, division and college events, and any event
assigned as other duties,

ll. Personal Characteristics

i. Task: Feedback
Deficiency: You have not been receptive to feedback
Corrective Action: Feedback given is for employee growth and to help the
department move forward more effectively. [tis not meant as a personal attack,
but often is received that way. Also please do not deflect blame onto other people.
Ifissues or deficiencies arise with a team member, inform the Director at that time.
Try to think of ways you can help move the issue forward in a positive direction.

ii. Task: Take direction from Director/Dean

Deficiency: Often questions directives from Dear/Director and does not accent
direction without a prolonged push-back in-different forms.
Corrective Action: It is ok to question, that is needed in a healthy work
environment and Ms. Sherman has made some good points, but there is a limit to
the push back that can result in delays and breakdowns between team members
and external partners. Director/Dean are sometimes at meetings or in
conversations that you are not. Under no circumstance should an external partner
be called te counter the cirective given as stated example in evaluation. Under no
circumstance should employee go to other employees or into their files to try find
information that would invalidate supervisor's directive.

ii, Task: Teamwork
Deficiency: Would offen prefer not to collaborate whether with staff or
—, departments,
Corrective Action: it is important we all move ICC forward. Structures are
changing but we often had to discuss which department would get credit for a
project. There seems to be competition between other staff and departments,

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Which is not always healthy for our division. We all need to work together. When

| recently asked Ms. Sherman to help the accountability team, she checked on
them, but then got paperwork to review later on her own. The team would have
appreciated her being a part of that solution when they were working on it

Your satisfactory work performance in all areas of your position is critical to the department. Your immediate
and sustained improvement on the above expectations is required. Your performance will be monitored

over the next 6 months and we will evaluate your progress towards the corrective action measures listed
above on or around August 31, 2019.

My signature below acknowledges the following:-I received a copy of this Performance Improvement Plan
(PIP), it was, discussed in detail with me, a copy will be placed in my employee file and failure to make

Satisfactory progress towards the corrective action measu res stated above may result if further disciplinary
measures to include termination. ,

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Emplo Signature .
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